Case 6:20-cr-00097-GAP-LHP Document 137 Filed 02/14/22 Page 1 of 2 PageID 607




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


                                       ORDER

      Upon consideration of Defendant’s [Sealed] Unopposed Motion to Continue

Sentencing Hearing and Request for a Hearing Under Seal (Doc. 133) and the

Government’s [Sealed] in camera and ex parte Status Report (Doc. 136) filed in

support of Defendant’s motion, it appears that a further continuance of

Defendant’s sentencing is in the interest of justice. It is, therefore,

      ORDERED that the motion to continue the sentencing hearing is

GRANTED. It is further

      ORDERED that unless the parties request that a sentencing hearing be set
Case 6:20-cr-00097-GAP-LHP Document 137 Filed 02/14/22 Page 2 of 2 PageID 608




sooner, the government shall file a status report by May 13, 2021, which may be

filed under seal.

      DONE and ORDERED in Orlando, Florida on February 14, 2022.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




                                         -2-
